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 1   DANIEL J. BRODERICK, Bar #89424
     Federal Defender
 2   CARO MARKS,Bar #159267
     Designated Counsel for Service
 3   801 I Street, 3rd Floor
     Sacramento, California 95814
 4   Telephone: (916) 498-5700
 5
 6   Attorney for Defendant
     CLEMENTE RUEDA CRUZ
 7
 8                       IN THE UNITED STATES DISTRICT COURT
 9                      FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,       )     No. Cr.S-10-354 EJG
                                     )
12                  Plaintiff,       )     STIPULATION AND ORDER;
                                     )        CONTINUING STATUS CONFERENCE
13        v.                         )            AND EXCLUDING TIME
                                     )
14   CLEMENTE RUEDA CRUZ,            )
     ARMANDO GARCIA ALEMAN,          )     Date: October 21, 2011
15                                   )     Time: 10:00 a.m.
                    Defendants.      )     Judge: Hon. Edward J. Garcia
16   _______________________________ )
17        IT IS HEREBY STIPULATED by and between Assistant United States
18   Attorney WILLIAM WONG, Caro Marks, Counsel for Defendant CLEMENTE RUEDA
19   CRUZ, and Dina L. Santos, Counsel for Defendant ARMANDO GARCIA ALEMAN,
20   that the status conference scheduled for October 7, 2011, be vacated
21   and the matter be continued for a status conference/change of plea on
22   October 21, 2011 at 10:00 a.m..
23        Defense counsel have negotiated certain terms of the proposed plea
24   agreements. Counsel now need additional time to travel to Butte County
25   Jail with interpreters and review the plea agreements with the
26   defendants. Counsel also need to prepare the defendants for their
27   entries of plea.
28          Thus, it is stipulated by the parties that the court should
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 1   exclude the time period from the date of this order through and
 2   including October 21, 2011, when it computes the time within which the
 3   trial of the above criminal prosecution must commence for purposes of
 4   the Speedy Trial Act.     The parties stipulate that the ends of justice
 5   served by granting defendants’ request for a continuance outweigh the
 6   best interest of the public and defendants in a speedy trial, and that
 7   this is an appropriate exclusion of time for defense preparation within
 8   the meaning of 18 U.S.C. § 3161(h)(7)(A) and (B) (Local Code T4).
 9        IT IS SO STIPULATED.
10   Dated: October 6, 2011                    Respectfully submitted,
11                                             DANIEL BRODERICK
                                               Federal Defender
12
                                               /s/ Caro Marks
13                                             CARO MARKS
                                               Assistant Federal Defender
14                                             Attorney for Defendant CLEMENTE CRUZ

15   Dated: October 6, 2011                    /s/ Dina L. Santos
                                               DINA L. SANTOS
16                                             Attorney for Defendant
                                               ARMANDO GARCIA ALEMAN
17
                                               BENJAMIN B. WAGNER
18                                             United States Attorney
19   Dated: October 6, 2011                    /s/ William Wong
                                               WILLIAM WONG
20                                             Assistant United States Attorney
                                               Attorney for Plaintiff
21
22                                     ORDER
23        UPON GOOD CAUSE SHOWN and the stipulation of all parties, it is
24   ordered that the October 7, 2011,      status conference hearing be
25   continued to October 21,2011, at 10:00 a.m.         Based on the
26   representation of defense counsel and good cause appearing there from,
27   the Court hereby finds that the failure to grant a continuance in this
28   case would deny defense counsel reasonable time necessary for effective


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 1   preparation, taking into account the exercise of due diligence.        The
 2   Court finds that the ends of justice to be served by granting a
 3   continuance outweigh the best interests of the public and the defendant
 4   in a speedy trial.   It is ordered that time up to and including the
 5   October 21, 2011 status conference shall be excluded from computation
 6   of time within which the trial of this matter must be commenced under
 7   the Speedy Trial Act pursuant to 18 U.S.C. § 3161(h)(7)(A) and (B)(iv)
 8   and Local Code T-4, to allow defense counsel reasonable time to
 9   prepare.
10   Dated: October 6, 2011
11                                          /s/ Edward J. Garcia
                                            EDWARD J. GARCIA
12                                          Senior United States District Judge
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